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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


     Jianmin Jin and Chunyou Xie,
     on behalf of themselves and other similarly situated,
                                                                                16-cv-5633 (ARR) (JO)
                          Plaintiffs,

                          — against —                                           Opinion & Order

     Shanghai Original, Inc.; East Brother Corp.; Always Good
     Brothers, Inc.; Shanghai City Corp.; Shanghai Duplicate                    Not for electronic or print
     Corp.; Kiu Sang Si a/k/a Joseph Si; Mimi Si; Yiu Fai Fong;                 publication
     Tun Yee Lam; and Solomon C Liou,

                          Defendants.


 ROSS, United States District Judge:

            On April 2, 2018, I certified a class of workers employed by Joe’s Shanghai restaurant in

 Flushing, Queens. See Jin v. Shanghai Original, Inc., 2018 WL 1597389 (E.D.N.Y. Apr. 2,

 2018). 1 For the reasons outlined below, I find that the requirements of Rule 23 are no longer met,

 and the class is therefore decertified.

                                                   BACKGROUND

            In my April 2, 2018 order, I granted plaintiffs’ motion to certify a New York Labor Law

 (“NYLL”) class of all non-managerial employees at Joe’s Shanghai restaurant in Flushing,

 Queens (“Flushing restaurant”). See 2018 WL 1597389, at *10–14. The overarching class claim

 is that the Flushing restaurant had a practice of paying its employees an illegally low flat rate of

 pay that did not account for minimum wage, overtime, or spread-of-hours requirements. See id.

 at *11–12, *14. I certified the class under Federal Rules of Civil Procedure 23(a) and 23(b)(3).

 See id. at *10–14. Subsequently, Judge Orenstein directed the parties to file a joint pretrial order


 1
     For the purposes of this opinion, I assume familiarity with the background of this case.

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 (“JPTO”). See May 3, 2018 Order. After a number of unsuccessful attempts, 2 Judge Orenstein

 determined that the parties had submitted a JPTO that “substantially complie[d]” with my

 individual practice requirements and issued an order closing discovery and deeming the case

 ready for trial. See Oct. 29, 2018 Order, ECF No. 136.

         On January 14, 2019, I ordered the parties to supplement the JPTO with proposed

 conclusions of law. See January 14, 2019 Order. The parties submitted an updated JPTO on

 January 22, 2019. See JPTO, ECF No. 142. At approximately the same time, plaintiffs came

 forward with allegations that defendants had inappropriately contacted class members and

 interfered with the formation of the class. See ECF Nos. 140, 143–44. Plaintiffs sought leave to

 file a sealed motion for sanctions or to reopen discovery (see id.), which I denied (see Feb. 4,

 2019 Order, ECF No. 146). I then set a briefing schedule for plaintiffs’ unsealed motion, which I

 respectfully referred to Judge Orenstein. See id. On March 1, 2019, Judge Orenstein held a

 conference, at which he reopened discovery until May 10, 2019 so that plaintiffs’ counsel could

 conduct dozens of depositions relating to defendants’ alleged misconduct. See Mar. 1, 2019

 Minute Entry, ECF No. 155; Joint Discovery Plan, ECF No. 160. During the May 10, 2019

 conference, it came to light that “[o]ver a month ago, after conducting just a few depositions of

 the defendants’ managers (and apparently none of the affected workers), and without notice to

 the court, the plaintiffs’ counsel decided not to complete the remaining depositions or to

 prosecute their previously filed motion for sanctions and to annul class opt-outs.” May 10, 2019

 Minute Entry, ECF No. 160. Judge Orenstein noted that “[t]here [was] no motion before [him] as

 to whether, in these circumstances, the plaintiffs’ counsel can properly advocate the interests of

 the class or whether the court should reconsider its decision to certify a class, which necessarily


 2
  See, e.g., May 22, 2018 Order; June 6, 2018 Minute Entry, ECF No. 120; October 17, 2018 Order; October 19,
 2018 Order; October 24, 2018 Order.

                                                       2
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 rests on a finding, among others, that the class representatives and their counsel are adequate.”

 Id. Following the conference, plaintiffs’ motion for sanctions was withdrawn (see May 10, 2019

 Order), and the case returned to me for trial.

          After carefully reviewing that parties’ JPTO and proposed exhibits, I held a pretrial

 phone conference. See June 25, 2019 Minute Entry, ECF No. 168. I scheduled the trial for July

 15, 2019 3 and requested additional information from the parties, including an updated class list

 and revised witness lists with details regarding each witness’s anticipated testimony. See id. 4

 Plaintiffs’ revised list, which included 34 witnesses, did not comply with my order in that it

 failed to provide adequate details. See Pls.’ Revised Witness List I, ECF No. 169. I thus directed

 plaintiffs to file “a complete witness list with detailed and specific descriptions of anticipated

 testimony for all witnesses, who must be available for in-person testimony.” June 28, 2019

 Order. In response, plaintiffs submitted a second revised witness list. See Pls.’ Revised Witness

 List II, ECF No. 172. The second revised witness list reveals that plaintiffs’ counsel plans to call

 four witnesses, only two of whom are members of the class. See id. at 1–5; see also Letter re

 Class Membership, ECF No. 175; Letter re Jin’s Class Membership, ECF No. 177. The two

 witnesses who are not members of the class—Hai Hua Zhai and Baofu Yan—were never even


 3
   Because of the individualized nature of each plaintiffs’ damages, I determined that the trial would be bifurcated
 into liability and damages. See, e.g., July 1, 2019 Order; see also 11 Newberg on Class Actions § 11:8 (5th ed. 2018)
 (“The most common form of trial bifurcation in class action lawsuits is the separation of liability and damages.”).
 4
   In the JPTO, plaintiffs stated that 73 class plaintiffs would testify at trial regarding the Flushing restaurant’s
 employment and recordkeeping practices, as well as to employee hours and wages. See JPTO 5–20, ¶¶ 1–73.
 Because defendants concede that their “cash payroll records, time card records and most notices of pay rate for the
 period prior to November 2016 were lost” (JPTO 28, ¶ 17), substantial testimony is critical to plaintiffs’ class claim
 that the Flushing restaurant had a practice of paying employees a flat wage regardless of NYLL requirements. See,
 e.g., Kuebel v. Black & Decker Inc., 643 F.3d 352, 362 (2d Cir. 2011) (“[I]f an employer’s records are inaccurate or
 inadequate, an employee need only present sufficient evidence to show the amount and extent of [the
 uncompensated work] as a matter of just and reasonable inference. . . . It is well settled among the district courts of
 this Circuit . . . that it is possible for a plaintiff to meet this burden through estimates based on his own recollection.”
 (internal quotation marks and citations omitted)). From the JPTO, it appeared that plaintiffs understood the
 importance of witness testimony; however, because the description of each witness’s testimony was the same, I
 requested additional details from plaintiffs’ counsel.

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 employed by the Flushing Restaurant. See Pls.’ Revised Witness List II 4–5; see also Defs.’

 Objection Letter, ECF No. 180 (objecting to the testimony of Zhai and Yan on the grounds that

 they were not disclosed as witnesses in the JPTO, never worked at the Flushing restaurant, and

 do not appear to be providing relevant testimony). In fact, Yan’s anticipated testimony appears to

 undermine plaintiffs’ class claim, as it states that he was paid an hourly wage—not a flat wage—

 in 2016. See Pls.’ Revised Witness List II 5. While plaintiffs’ witness list includes 24 “adverse”

 witnesses, plaintiffs provide no details as to their anticipated testimony. See id. at 5–8. 5 Finally,

 on July 3, 2019, the parties jointly submitted a final class list, which includes 38 class members

 and clarifies that two individuals were paid by check only, two were paid by cash only, and the

 rest were paid by a combination of cash and check. See Final Class List, ECF No. 179. 6

                                                   DISCUSSION

          An order granting class certification “may be altered or amended before final judgment.”

 Fed. R. Civ. P. 23(c)(1)(C). A district court may decertify a class, either on motion or sua sponte,

 if at any point “it appears that the requirements of Rule 23 are not in fact met.” Doe v. Karadzic,

 192 F.R.D. 133, 136 (S.D.N.Y. 2000) (quoting Sirota v. Solitron Devices, Inc., 673 F.2d 566,

 572 (2d Cir. 1982)); see also Selby v. Principal Mut. Life. Ins. Co., No. 98 CIV. 5283(RLC),

 2000 WL 1863760, at *6 (S.D.N.Y. Dec. 20, 2000) (“Certainly, a court’s authority to certify or

 modify a class sua sponte is indisputable.”); 7 Newberg on Class Actions § 3:52 (5th ed. 2018)

 (“So important is a court’s oversight that the court need not await a party’s motion but can revisit

 certification on its own initiative.”). A court, however, “may not disturb its prior [certification]


 5
   Further, it appears that defendants are only planning to call seven of these adverse witnesses, none of whom are
 non-managerial employees from the Flushing restaurant. See Defs.’ Witness List, ECF No. 173. Thus, the court has
 serious doubts that the remaining 17 adverse witnesses will testify at all, let alone testify favorably for plaintiffs.
 6
   Because I am decertifying the class on inadequacy of representation grounds, I do not make a determination as to
 whether the class continues to meet Rule 23(a)(1)’s numerosity requirement. See Jin, 2018 WL 1597389, at *11
 (noting that prospective classes of twenty to forty members fall in a “gray area” and certifying the class based on the
 finding that “it is almost certain that there have been over 40 workers in the past six years”).

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 findings absent some significant intervening event, or a showing of compelling reasons to

 reexamine the question.” Jermyn v. Best Buy Stores, L.P., 276 F.R.D. 167, 169 (S.D.N.Y. 2011)

 (internal quotation marks omitted) (quoting Doe, 192 F.R.D. at 136–37).

        Under Federal Rule of Civil Procedure 23(a)(4), a class can only be maintained if “the

 representative parties will fairly and adequately protect the interests of the class.” The

 “representative parties” have long been understood to include both the class representatives and

 class counsel. See Newberg § 3:52; see also Leber v. Citigroup 401(k) Plan Inv. Comm., 323

 F.R.D. 145, 164 (S.D.N.Y. 2017). In 2003, Congress enacted Rule 23(g), which explicitly

 requires that “[c]lass counsel must fairly and adequately represent the interests of the class.” Fed.

 R. Civ. P. 23(g)(4). The adequacy factors listed in Rule 23(g) “mirror those that courts had

 developed” in applying Rule 23(a)(4) to counsel’s adequacy. Newberg § 3:80. Thus, “[w]hile the

 move of the analysis of counsel’s adequacy from Rule 23(a)(4) to Rule 23(g) may . . . seem more

 stylistic than substantive, it is a step towards the fuller acknowledgement that it is class counsel,

 not the class representatives, who are truly litigating the class’s claims.” Id.; see also In re

 American Exp. Anti-Steering Rules Antitrust Litig., Nos. 11–MD–2221 (NGG)(RER), 13–CV–

 7355 (NGG)(RER), 2015 WL 4645240, at *12 (E.D.N.Y. Aug. 4, 2015) (“Indeed, class

 counsel’s integrity, loyalty, and adequacy generally are perhaps even more important than the

 adequacy of class plaintiffs, as ‘[e]xperience teaches that it is counsel for the class representative

 and not the named parties, who direct and manage these actions.’” (quoting Greenfield v.

 Villager Indus., Inc., 483 F.2d 824, 832 n.9 (3d Cir. 1973))).

        A court may decertify a class on inadequate representation grounds if “class counsel fails

 to ‘competently, responsibly, and vigorously prosecute the suit.’” Newberg § 7:38 (quoting

 Sheinberg v. Sorensen, Civil Action No. 00–6041 (JLL), 2007 WL 496872, *3 (D.N.J. Feb. 8,



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 2007))). In fact, given the critical role that counsel plays in a class action, “the court remains

 under a continuing duty to monitor the adequacy of representation to ensure that class counsel

 provides zealous, competent representation through the proceedings.” In re Integra Realty

 Resources, Inc., 262 F.3d 1089, 1112 (10th Cir. 2001); see also Doe, 192 F.R.D. at 136 (noting

 that because an order certifying a class is “conditional,” courts have an obligation “to reassess

 their class rulings as the case develops” (quoting Boucher v. Syracuse Univ., 164 F.3d 113, 118

 (2d Cir. 1999))).

          Here, I find that class counsel is no longer providing “zealous, competent representation.”

 In re Integra Realty Resources, Inc., 262 F.3d at 1112. While there have been numerous red flags

 over the past few months, including counsel’s failure to adequately respond to the court’s orders

 and apparent attempts to delay trial, 7 the “significant intervening event” (Jermyn, 276 F.R.D. at

 169) triggering decertification is counsel’s disclosure that he plans to call only two class

 members as witnesses at trial. As discussed above, substantial testimony by the Flushing

 restaurant’s non-managerial staff is crucial to the plaintiffs’ case, as the crux of the class claim

 involves the restaurant’s payment policy, the restaurant’s cash payment records prior to the filing

 of the lawsuit are missing, and all class members except two were paid at least partially in cash.

 Put simply, by calling only two relevant witnesses, counsel is failing to “fairly and adequately

 represent the interests of the class.” Fed. R. Civ. P. 23(g)(4). While decertification late in the

 litigation process is generally disfavored, the reason is that late decertification can “prejudice



 7
  Counsel made two last-minute, unsuccessful attempts to delay the May 10, 2019 status conference before Judge
 Orenstein. See Mot. Adjourn, ECF No. 157; May 9, 2019 Order denying Mot. Adjourn; Second Mot. Adjourn, ECF
 No. 159; May 9, 2019 Order denying Second Mot. Adjourn. This was the conference where counsel revealed that
 despite knowing for over a month that plaintiffs were not going to pursue their motion for sanctions, counsel made
 no attempt to notify the court. See May 10, 2019 Minute Entry (calling into doubt whether plaintiffs’ counsel was
 providing adequate representation). Further, shortly after agreeing to a trial date of July 15, plaintiffs’ counsel
 submitted a request to adjourn the trial until August based on various scheduling conflicts. See Mot. Adjourn Trial,
 ECF No. 171; see also July 1, 2019 Order (denying plaintiffs’ motion to adjourn the trial).

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 class members, who may be unable to protect their own interests.” Doe, 192 F.R.D. at 137

 (quoting Langley v. Coughlin, 715 F. Supp. 522, 552 (S.D.N.Y. 1989)). In the instant case, the

 prejudice from late-stage decertification must be balanced against the prejudice class members

 face from inadequate representation. Because I conclude that the prejudice from inadequate

 representation is greater, I find that decertification is proper.

                                                    CONCLUSION

          For the reasons stated in this opinion, the class of Flushing restaurant employees is

 decertified due to inadequacy of representation. Plaintiffs’ counsel is ordered to provide notice of

 decertification to all class members. The notice should explain their rights to pursue their

 individual claims and the fact that the statute of limitations is no longer tolled. 8 Plaintiffs’

 counsel is directed to submit a proposed decertification notice to the court by July 19, 2019. The

 trial on behalf of named plaintiff Jianmin Jin is still scheduled for Monday, July 15, at 9:30am in

 Courtroom 8C. The parties are directed to review this order and call Chambers at 10:30am on

 July 11, 2019 for a pre-trial phone conference.



 SO ORDERED.

                                                                    _________/s/___________________
                                                                    Allyne R. Ross
                                                                    United States District Judge
     Dated:         July 10, 2019
                    Brooklyn, New York




 8
   See Newberg § 7:40 (“The reason that class members should learn of decertification is that they might be
 prejudiced if they do not. Specifically, the filing of a class action tolls the statute of limitations on the putative class
 members’ individual claims, but decertification of the class starts the clock again. Class members who received
 notice that a class had been certified may not pursue their individual claims in reliance thereon, but if they do not
 receive notice of decertification, they have no way of knowing that the clock has restarted on their claims.”).

                                                              7
